Case: 1:19-op-45350-DAP Doc #: 8-1 Filed: 11/18/20 1 of 11. PageID #: 342




           EXHIBIT A
             Case: 1:19-op-45350-DAP Doc #: 8-1 Filed: 11/18/20 2 of 11. PageID #: 343


AO 399 (01/09) Waiver of the Service of Summons

                                    UNITED STATES DISTRICT COURT
                                                                     for the
                                                            Northern District of Ohio

                   Lower Brule Sioux Tribe                                )
                               Plaintiff                                  )
                          v.                                              )       Civil Action No. 1:19-op-45350-DAP
        AmerisourceBergen Drug Corporation et al                          )
                              Defendant                                   )

                                             WAIVER OF THE SERVICE OF SUMMONS

To:       Peter J. Mougey
                (Name of the plaintiff’s attorney or unrepresented plaintiff)

        I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.
           I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.
          I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.
        The Court’s moratorium on all filings includes a moratorium on the filing of answers or motions under Rule 12.
Defendants will not answer or move under Rule 12 unless so ordered by the Court. The failure to file an answer or
motion under Rule 12 will not be grounds for a default judgment.


Date:     5/7/2020
                                                                                        Signature of the attorney or unrepresented party
                    Actavis LLC                                                                        Mr. Evan Jacobs
      Printed name of party waiving service of summons                                                     Printed name
                                                                                              Morgan, Lewis & Bockius LLP
                                                                                                  1701 Market Street
                                                                                                Philadelphia, PA 19103
                                                                                                              Address
                                                                                             evan.jacobs@morganlewis.com
                                                                                                          E-mail address
                                                                                                        (215) 963-5329
                                                                                                        Telephone number


                                           Duty to Avoid Unnecessary Expenses of Serving a Summons
           Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a
summons and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff
located in the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.
           “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.
        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.
            If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the
plaintiff and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been
served.
             Case: 1:19-op-45350-DAP Doc #: 8-1 Filed: 11/18/20 3 of 11. PageID #: 344


AO 399 (01/09) Waiver of the Service of Summons

                                    UNITED STATES DISTRICT COURT
                                                                     for the
                                                            Northern District of Ohio

                   Lower Brule Sioux Tribe                                )
                               Plaintiff                                  )
                         v.                                               )       Civil Action No. 1:19-op-45350-DAP
       AmerisourceBergen Drug Corporation et al                           )
                              Defendant                                   )

                                             WAIVER OF THE SERVICE OF SUMMONS

To:       Peter J. Mougey
                (Name of the plaintiff’s attorney or unrepresented plaintiff)

        I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.
           I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.
          I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.
        The Court’s moratorium on all filings includes a moratorium on the filing of answers or motions under Rule 12.
Defendants will not answer or move under Rule 12 unless so ordered by the Court. The failure to file an answer or
motion under Rule 12 will not be grounds for a default judgment.


Date: 05/20/2020                                                               /s/ Timothy W. Knapp
                                                                                        Signature of the attorney or unrepresented party
            Allergan plc f/k/a Actavis plc                                                              Timothy Knapp
      Printed name of party waiving service of summons                                                     Printed name
                                                                                                     Kirkland & Ellis LLP
   Allergan plc objects to the requirement that it
                                                                                                      300 North Lasalle
   accept service in this matter and reserves all
                                                                                                     Chicago, IL 60654
   defenses related to personal jurisdiction.
                                                                                                              Address
                                                                                               timothy.knapp@kirkland.com
                                                                                                          E-mail address
                                                                                                        (312) 862-7426
                                                                                                        Telephone number


                                           Duty to Avoid Unnecessary Expenses of Serving a Summons
           Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a
summons and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff
located in the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.
           “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.
        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.
            If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the
plaintiff and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been
served.
             Case: 1:19-op-45350-DAP Doc #: 8-1 Filed: 11/18/20 4 of 11. PageID #: 345
9:;<==;>?@A?=BCDEFGH;IJ;KLG;MGHFENG;IJ;MOPPIQR

                                     STUVWX;MV9VWMJI;HX;KLGUMVYUZV;Z:SYV
                                           [[[[[[[[[[;XE
                                                            
                                                               RKHENK;IJ;[[[[[[[[[[
              ëìíîïðñïòóîðôõìòöð÷ïõøî                            B
                           #$%&'(&))                             B
                              F\
                 °±²³µ́¶·³¸²¹²³º²»¼½³·º¼¾¶³¿¶³ÀÁ́¶»Â¼²Á¼ÀÃÄ B
                                                                 B ZEFE];9NKEIQ;TI\ØÙØÚÛÜÝÛÞßàáâã
                          ,-)-'.%'(                              B
                                      /0123456758935:3421;35675:<==6>:
VI^                   ÌÍÎÍÏÐÑÒÐÓÔÕÖÍ×
             @A%B-CD)C(E-CF$%&'(&))GHC%((DI'-JCDICK'I-FI-H-'(-.CF$%&'(&))L
         U;LDFG;HGNGEFG_;`IOH;HGaOGRK;KI;bDEFG;RGHFENG;IJ;D;ROPPIQR;EQ;KLER;DNKEIQ;D]IQc;bEKL;D;NId`;IJ;KLG;NIPd]DEQKe
KbI;NIdEGR;IJ;KLER;bDEFGH;JIHPe;DQ_;D;dHGdDE_;PGDQR;IJ;HGKOHQEQc;IQG;REcQG_;NId`;IJ;KLG;JIHP;KI;`IO\;
         Ue;IH;KLG;GQKEK̀;U;HGdHGRGQKe;DcHGG;KI;RDFG;KLG;GfdGQRG;IJ;RGHFEQc;D;ROPPIQR;DQ_;NIPd]DEQK;EQ;KLER;NDRG\;;
         ghijklmnopjkhoqpohgrhsmhoqlhljotouhghmlvmlnljorhwtxxhyllvhpxxhklzljnlnhsmhs{|l}otsjnhoshoqlhxpwnitorhoqlh}simo~n
OHER_ENKEIQe;DQ_;KLG;FGQOG;IJ;KLG;DNKEIQe;OK;KLDK;U;bDEFG;DQ`;IGNKEIQR;KI;KLG;DRGQNG;IJ;D;ROPPIQR;IH;IJ;RGHFENG\;;
         U;D]RI;OQ_GHRKDQÅ_Æ;KÇÅLÈDÇKÉ;UÅeÉ;IÊHË;KLG;GQKEK̀;U;HGdHGRGQKe;PORK;JE]G;DQ_;RGHFG;DQ;DQRbGH;IH;D;PIKEIQ;OQ_GH;YO]G;@;bEKLEQ
?;_D`R;JHIP                                                  e;KLG;_DKG;bLGQ;KLER;HGaOGRK;bDR;RGQK;>IH;=?;_D`R;EJ;EK;bDR;RGQK;IOKRE_G;KLG
SQEKG_;MKDKGRB\;;UJ;U;JDE];KI;_I;RIe;D;_GJDO]K;O_cPGQK;bE]];G;GQKGHG_;DcDEQRK;PG;IH;KLG;GQKEK̀;U;HGdHGRGQK\
XDKG^ ¡¢£¢¤ ¤                                                                                       ¥¦¥§¨©ª«§¬­®®¯¦
                                                                                          q&r'%(KI-CD)C(E-C%((DI'-JCDICK'I-FI-H-'(-.CF%I(J
             Ã¦ ãÖÔãÛÕÚä×Ûãßäåæçèéê                                                                     ¡¡¢£
      #I&'(-.C'%B-CD)CF%I(JCs%&t&'rCH-It&u-CD)CHKBBD'HCC                                                    #I&'(-.C'%B-
                                                                                              ¤¡ ¥¦§¨ ¡©¡ª«¬­ ¥¡®®¨
                                                                                              ¯¯¯°±¢²³¡©¡©´µµ©­±¥ ¡
                                                                                                ® £¤²¥£´¶¥¢·¡¢¸¹¹º¯
                                                                                                                v..I-HH
                                                                                                £°» ¡¡¢£¼¡ ¥¦½ ¡©¡°¬ »
                                                                                                            wxB%&$C%..I-HH
                                                                                                          ¾¿ºÀÁ¿µÀÂµ¹¹¹
                                                                                                            y-$-FED'-C'KBz-I
                                            {|}~5}505<~5355:55:|
           YO]G;;IJ;KLG;G_GHD];YO]GR;IJ;ZEFE];HING_OHG;HGaOEHGR;NGHKDEQ;_GJGQ_DQKR;KI;NIIdGHDKG;EQ;RDFEQc;OQQGNGRRDH`;GfdGQRGR;IJ;RGHFEQc;D;ROPPIQR
DQ_;NIPd]DEQK\;;9;_GJGQ_DQK;bLI;ER;]INDKG_;EQ;KLG;SQEKG_;MKDKGR;DQ_;bLI;JDE]R;KI;HGKOHQ;D;REcQG_;bDEFGH;IJ;RGHFENG;HGaOGRKG_;`;D;d]DEQKEJJ;]INDKG_;EQ
KLG;SQEKG_;MKDKGR;bE]];G;HGaOEHG_;KI;dD`;KLG;GfdGQRGR;IJ;RGHFENGe;OQ]GRR;KLG;_GJGQ_DQK;RLIbR;cII_;NDORG;JIH;KLG;JDE]OHG\
           sskh}pinlhkslnh'D(CEQN]O_G;D;G]EGJ;KLDK;KLG;]DbROEK;ER;cHIOQ_]GRRe;IH;KLDK;EK;LDR;GGQ;HIOcLK;EQ;DQ;EPdHIdGH;FGQOGe;IH;KLDK;KLG;NIOHK;LDR
jsh|imtnkt}otsjhslmhoqtnhpoolmhsmhslmhoqlhklzljkpjohsmhoqlhklzljkpjo~nhvmsvlmouhh
           UJ;KLG;bDEFGH;ER;REcQG_;DQ_;HGKOHQG_e;`IO;NDQ;RKE]];PDG;KLGRG;DQ_;D]];IKLGH;_GJGQRGR;DQ_;IGNKEIQRe;OK;`IO;NDQQIK;IGNK;KI;KLG;DRGQNG;IJ
D;ROPPIQR;IH;IJ;RGHFENG\;
           UJ;`IO;bDEFG;RGHFENGe;KLGQ;`IO;PORKe;bEKLEQ;KLG;KEPG;RdGNEJEG_;IQ;KLG;bDEFGH;JIHPe;RGHFG;DQ;DQRbGH;IH;D;PIKEIQ;OQ_GH;YO]G;@;IQ;KLG;d]DEQKEJJ
DQ_;JE]G;D;NId`;bEKL;KLG;NIOHK\;;`;REcQEQc;DQ_;HGKOHQEQc;KLG;bDEFGH;JIHPe;`IO;DHG;D]]IbG_;PIHG;KEPG;KI;HGRdIQ_;KLDQ;EJ;D;ROPPIQR;LD_;GGQ;RGHFG_\
             Case: 1:19-op-45350-DAP Doc #: 8-1 Filed: 11/18/20 5 of 11. PageID #: 346


AO 399 (01/09) Waiver of the Service of Summons

                                    UNITED STATES DISTRICT COURT
                                                                     for the
                                                            Northern District of Ohio

                   Lower Brule Sioux Tribe                                )
                               Plaintiff                                  )
                          v.                                              )       Civil Action No. 1:19-op-45350-DAP
        AmerisourceBergen Drug Corporation et al                          )
                              Defendant                                   )

                                             WAIVER OF THE SERVICE OF SUMMONS

To:       Peter J. Mougey
                (Name of the plaintiff’s attorney or unrepresented plaintiff)

        I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.
           I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.
          I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.
        The Court’s moratorium on all filings includes a moratorium on the filing of answers or motions under Rule 12.
Defendants will not answer or move under Rule 12 unless so ordered by the Court. The failure to file an answer or
motion under Rule 12 will not be grounds for a default judgment.


Date:          6/5/2020
                                                                                       Signature of the attomey or 1mrepresented party
                     Mallinckrodt LLC                                                                And rew O'Connor
      Printed name of party waiving service of summons                                                   Printed name
                                                                                                  Ropes & Gray, LLP
                                                                                         Prudential Towe r, 800 Boylston Street
                                                                                               Boston, MA 02199-3600
                                                                                                              Address

                                                                                            And rew. O'Connor@ropesgray.com
                                                                                                        E-mail address

                                                                                                      (617) 951-7000
                                                                                                      Telephone mm1ber

                                           Duty to Avoid Unnecessary Expenses of Serving a Summons
           Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a
summons and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff
located in the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.
           “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.
        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.
            If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the
plaintiff and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been
served.
             Case: 1:19-op-45350-DAP Doc #: 8-1 Filed: 11/18/20 6 of 11. PageID #: 347


AO 399 (01/09) Waiver of the Service of Summons

                                    UNITED STATES DISTRICT COURT
                                                                     for the
                                                            Northern District of Ohio

                   Lower Brule Sioux Tribe                                )
                               Plaintiff                                  )
                          v.                                              )       Civil Action No. 1:19-op-45350-DAP
        AmerisourceBergen Drug Corporation et al                          )
                              Defendant                                   )

                                             WAIVER OF THE SERVICE OF SUMMONS

To:       Peter J. Mougey
                (Name of the plaintiff’s attorney or unrepresented plaintiff)

        I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.
           I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.
          I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.
        The Court’s moratorium on all filings includes a moratorium on the filing of answers or motions under Rule 12.
Defendants will not answer or move under Rule 12 unless so ordered by the Court. The failure to file an answer or
motion under Rule 12 will not be grounds for a default judgment.


Date:          6/5/2020
                                                                                        Signature of the attorney or unrepresented party

                     Mallinckrodt PLC                                                                 And rew O'Connor
      Printed name of party waiving service of summons                                                   Printed name
                                                                                                   Ropes & Gray, LLP
                                                                                          Prudential Tower, 800 Boylston Street
                                                                                                Boston, MA 02199-3600
                                                                                                              Address

                                                                                             Andrew. O'Connor@ropesgray.com
                                                                                                        E-mail address

                                                                                                      (61 7) 95 '1-7000
                                                                                                       Telephone mm1ber

                                           Duty to Avoid Unnecessary Expenses of Serving a Summons
           Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a
summons and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff
located in the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.
           “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.
        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.
            If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the
plaintiff and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been
served.
             Case: 1:19-op-45350-DAP Doc #: 8-1 Filed: 11/18/20 7 of 11. PageID #: 348


AO 399 (01/09) Waiver of the Service of Summons

                                       UNITED STATES DISTRICT COURT
                                                                     for the
                                                            Northern District of Ohio

                   Lower Brule Sioux Tribe                                )
                               Plaintiff                                  )
                                  v.                                      )       Civil Action No. 1: 19-op-45350-DAP
        AmerisourceBergen Drug Corporation et al                          )
                              Defendant                                   )

                                             WAIVER OF THE SERVICE OF SUMMONS

To:        Peter J. Mougey
                (Name of the plaintiff's attorney or unrepresented plaintiff)

        I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.
           I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.
          I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court's
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.
        The Court's moratorium on all filings includes a moratorium on the filing of answers or motions under Rule 12.
Defendants will not answer or move under Rule 12 unless so ordered by the Court. The failure to file an answer or
motion under Rule 12 will not be grounds for a default judgment.


Date:     08/12/2020
                                                                                        Signature of the attorney or unrepresented party
                                                                                                     Rebecca C. Mandel
Mylan Pharmaceuticals Inc.
      Printed name ofparty waiving service of summons                                                      Printed name
                                                                                                   Hogan Lovells US LLP
                                                                                                    555 13th Street NW
                                                                                                  Washington, D.C. 20004
                                                                                                              Address
                                                                                           rebecca.mandel@hoganlovells.com
                                                                                                          E-mail address
                                                                                                        (202) 637-5488
                                                                                                        Telephone number


                                           Duty to Avoid Unnecessary Expenses of Serving a Summons
           Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a
summons and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff
located in the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.
           "Good cause" does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant's property.
        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.
           If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the
plaintiff and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been
served.
               Case: 1:19-op-45350-DAP Doc #: 8-1 Filed: 11/18/20 8 of 11. PageID #: 349

»¼½¾¿¿½ÀÁÂÃÁ¿ÄÅÆÇÈÉÊ½ËÌ½ÍÎÉ½ÏÉÊÈÇÐÉ½ËÌ½ÏÑÒÒËÓÔ

                                     ÕÖ×ØÙÚ½ÏØ»ØÙÏÌË½ÊÚ½ÍÎÉ×ÏØÛ×ÜØ½Ü¼ÕÛØ
                                                   Ë             !Ë
                  XYZ[\]^\_`[]abY_c]d\be[                   Ä
                           #$%&'(&))                        Ä fghijklmnopjqorstutvwxywz{|{}~
                              ÈÝ                            Ä
                  -./0123405/6/07/89:0479;30<30=>138?9/>9=@AÄ
                          ,-)-'.%'(                         Ä
                                            /0123456758935:3421;35675:<==6>:
ØËÞ                     LMNMOPQRPSTUVMW
             @A%B-CD)C(E-CF$%&'(&))GHC%((DI'-JCDICK'I-FI-H-'(-.CF$%&'(&))L
         ×½ÎÆÈÉ½ÊÉÐÉÇÈÉß½àËÑÊ½ÊÉáÑÉÔÍ½ÍË½âÆÇÈÉ½ÔÉÊÈÇÐÉ½ËÌ½Æ½ÔÑÒÒËÓÔ½ÇÓ½ÍÎÇÔ½ÆÐÍÇËÓ½ÆãËÓä½âÇÍÎ½Æ½ÐËåà½ËÌ½ÍÎÉ½ÐËÒåãÆÇÓÍæ
ÍâË½ÐËåÇÉÔ½ËÌ½ÍÎÇÔ½âÆÇÈÉÊ½ÌËÊÒæ½ÆÓß½Æ½åÊÉåÆÇß½ÒÉÆÓÔ½ËÌ½ÊÉÍÑÊÓÇÓä½ËÓÉ½ÔÇäÓÉß½ÐËåà½ËÌ½ÍÎÉ½ÌËÊÒ½ÍË½àËÑÝ½
         ×æ½ËÊ½ÍÎÉ½ÉÓÍÇÍà½×½ÊÉåÊÉÔÉÓÍæ½ÆäÊÉÉ½ÍË½ÔÆÈÉ½ÍÎÉ½ÉçåÉÓÔÉ½ËÌ½ÔÉÊÈÇÓä½Æ½ÔÑÒÒËÓÔ½ÆÓß½ÐËÒåãÆÇÓÍ½ÇÓ½ÍÎÇÔ½ÐÆÔÉÝ½½
         èéêëìíîïðñëìéðòñðéèóéôîéðòíéíëðõðöéèéîí÷îíïíëðóéøõùùéúíí÷éñùùéìíûíëïíïéôîéôüýíþðõôëïéðôéðòíéùñøïêõðóéðòíéþôêîð0ï
1ÑÊÇÔßÇÐÍÇËÓæ½ÆÓß½ÍÎÉ½ÈÉÓÑÉ½ËÌ½ÍÎÉ½ÆÐÍÇËÓæ½2ÑÍ½ÍÎÆÍ½×½âÆÇÈÉ½ÆÓà½Ë21ÉÐÍÇËÓÔ½ÍË½ÍÎÉ½Æ2ÔÉÓÐÉ½ËÌ½Æ½ÔÑÒÒËÓÔ½ËÊ½ËÌ½ÔÉÊÈÇÐÉÝ½½
         ×½ÆãÔË½ÑÓßÉÊÔÍÆGÓHßI½GÍJÎIÆKÍG½×KæG½ËÊ½ÍÎÉ½ÉÓÍÇÍà½×½ÊÉåÊÉÔÉÓÍæ½ÒÑÔÍ½ÌÇãÉ½ÆÓß½ÔÉÊÈÉ½ÆÓ½ÆÓÔâÉÊ½ËÊ½Æ½ÒËÍÇËÓ½ÑÓßÉÊ½ÛÑãÉ½Â3½âÇÍÎÇÓ
4Á½ßÆàÔ½ÌÊËÒ                                                 æ½ÍÎÉ½ßÆÍÉ½âÎÉÓ½ÍÎÇÔ½ÊÉáÑÉÔÍ½âÆÔ½ÔÉÓÍ½ÀËÊ½¿Á½ßÆàÔ½ÇÌ½ÇÍ½âÆÔ½ÔÉÓÍ½ËÑÍÔÇßÉ½ÍÎÉ
ÕÓÇÍÉß½ÏÍÆÍÉÔÄÝ½½×Ì½×½ÌÆÇã½ÍË½ßË½ÔËæ½Æ½ßÉÌÆÑãÍ½1ÑßäÒÉÓÍ½âÇãã½2É½ÉÓÍÉÊÉß½ÆäÆÇÓÔÍ½ÒÉ½ËÊ½ÍÎÉ½ÉÓÍÇÍà½×½ÊÉåÊÉÔÉÓÍÝ
ÚÆÍÉÞ BCDBEDFBFB                                                                                  "#"$%&'($)*++,#
                                                                                           q&r'%(KI-CD)C(E-C%((DI'-JCDICK'I-FI-H-'(-.CF%I(J
                    ãÖßãÖÔãÛÕÚä×ÛãßáÙÔâãÞ×ÕØÞÛß                                                 ¡¡¢£
       #I&'(-.C'%B-CD)CF%I(JCs%&t&'rCH-It&u-CD)CHKBBD'HCC
                                                                                              ¤¡ ¥¦§¨ #I
                                                                                                        ¡©&'¡ª
                                                                                                              (-.C'%B-
                                                                                                                  «¬­ ¥¡®®¨
                                                                                              ¯¯¯°±¢²³¡©¡©´µµ©­±¥ ¡
                                                                                                ® £¤²¥£´¶¥¢·¡¢¸¹¹º¯
                                                                                                               v..I-HH
                                                                                                £°» ¡¡¢£¼¡ ¥¦½ ¡©¡°¬ »
                                                                                                            wxB%&$C%..I-HH
                                                                                                         ¾¿ºÀÁ¿µÀÂµ¹¹¹
                                                                                                             y-$-FED'-C'KBz-I
                                            {|}~5}505<~5355:55:|
           ÛÑãÉ½5½ËÌ½ÍÎÉ½6ÉßÉÊÆã½ÛÑãÉÔ½ËÌ½ÜÇÈÇã½7ÊËÐÉßÑÊÉ½ÊÉáÑÇÊÉÔ½ÐÉÊÍÆÇÓ½ßÉÌÉÓßÆÓÍÔ½ÍË½ÐËËåÉÊÆÍÉ½ÇÓ½ÔÆÈÇÓä½ÑÓÓÉÐÉÔÔÆÊà½ÉçåÉÓÔÉÔ½ËÌ½ÔÉÊÈÇÓä½Æ½ÔÑÒÒËÓÔ
ÆÓß½ÐËÒåãÆÇÓÍÝ½½»½ßÉÌÉÓßÆÓÍ½âÎË½ÇÔ½ãËÐÆÍÉß½ÇÓ½ÍÎÉ½ÕÓÇÍÉß½ÏÍÆÍÉÔ½ÆÓß½âÎË½ÌÆÇãÔ½ÍË½ÊÉÍÑÊÓ½Æ½ÔÇäÓÉß½âÆÇÈÉÊ½ËÌ½ÔÉÊÈÇÐÉ½ÊÉáÑÉÔÍÉß½2à½Æ½åãÆÇÓÍÇÌÌ½ãËÐÆÍÉß½ÇÓ
ÍÎÉ½ÕÓÇÍÉß½ÏÍÆÍÉÔ½âÇãã½2É½ÊÉáÑÇÊÉß½ÍË½åÆà½ÍÎÉ½ÉçåÉÓÔÉÔ½ËÌ½ÔÉÊÈÇÐÉæ½ÑÓãÉÔÔ½ÍÎÉ½ßÉÌÉÓßÆÓÍ½ÔÎËâÔ½äËËß½ÐÆÑÔÉ½ÌËÊ½ÍÎÉ½ÌÆÇãÑÊÉÝ
           89ôôìéþñêïíéìôíïé'D(CÇÓÐãÑßÉ½Æ½2ÉãÇÉÌ½ÍÎÆÍ½ÍÎÉ½ãÆâÔÑÇÍ½ÇÔ½äÊËÑÓßãÉÔÔæ½ËÊ½ÍÎÆÍ½ÇÍ½ÎÆÔ½2ÉÉÓ½2ÊËÑäÎÍ½ÇÓ½ÆÓ½ÇÒåÊËåÉÊ½ÈÉÓÑÉæ½ËÊ½ÍÎÆÍ½ÍÎÉ½ÐËÑÊÍ½ÎÆÔ
ëôéýêîõïìõþðõôëéôíîéðòõïéñððíîéôîéôíîéðòíéìíûíëìñëðéôîéðòíéìíûíëìñëð0ïé÷îô÷íîðöéé
           ×Ì½ÍÎÉ½âÆÇÈÉÊ½ÇÔ½ÔÇäÓÉß½ÆÓß½ÊÉÍÑÊÓÉßæ½àËÑ½ÐÆÓ½ÔÍÇãã½ÒÆÉ½ÍÎÉÔÉ½ÆÓß½Æãã½ËÍÎÉÊ½ßÉÌÉÓÔÉÔ½ÆÓß½Ë21ÉÐÍÇËÓÔæ½2ÑÍ½àËÑ½ÐÆÓÓËÍ½Ë21ÉÐÍ½ÍË½ÍÎÉ½Æ2ÔÉÓÐÉ½ËÌ
Æ½ÔÑÒÒËÓÔ½ËÊ½ËÌ½ÔÉÊÈÇÐÉÝ½
           ×Ì½àËÑ½âÆÇÈÉ½ÔÉÊÈÇÐÉæ½ÍÎÉÓ½àËÑ½ÒÑÔÍæ½âÇÍÎÇÓ½ÍÎÉ½ÍÇÒÉ½ÔåÉÐÇÌÇÉß½ËÓ½ÍÎÉ½âÆÇÈÉÊ½ÌËÊÒæ½ÔÉÊÈÉ½ÆÓ½ÆÓÔâÉÊ½ËÊ½Æ½ÒËÍÇËÓ½ÑÓßÉÊ½ÛÑãÉ½Â3½ËÓ½ÍÎÉ½åãÆÇÓÍÇÌÌ
ÆÓß½ÌÇãÉ½Æ½ÐËåà½âÇÍÎ½ÍÎÉ½ÐËÑÊÍÝ½½à½ÔÇäÓÇÓä½ÆÓß½ÊÉÍÑÊÓÇÓä½ÍÎÉ½âÆÇÈÉÊ½ÌËÊÒæ½àËÑ½ÆÊÉ½ÆããËâÉß½ÒËÊÉ½ÍÇÒÉ½ÍË½ÊÉÔåËÓß½ÍÎÆÓ½ÇÌ½Æ½ÔÑÒÒËÓÔ½ÎÆß½2ÉÉÓ½ÔÉÊÈÉßÝ
           Case: 1:19-op-45350-DAP Doc #: 8-1 Filed: 11/18/20 9 of 11. PageID #: 350
ùúûüýýûþ0120ý3456789û û8û89768û û 

                                   ûùû9û8ûú
                                       OPQ  RSTUûR6
                                                            VWXY
                                                              9Z6SRY[ûSWQ\ûW]T
                                                                               YQ
        Ë ­®¯°±²³±´µ°²¶·®´¸²¹±·º°                               3
                      #$%&'(&))                                 3
                         7                                     3 ¡¢¡£¤¥¦¤§¨©ª«¬
         ijklmnoplqkrklsktuvlpsuwolxolyzmot{ukzuy|}             3
                     ,-)-'.%'(                                  3
                                 /0123456758935:3421;35675:<==6>:
                 
           @A%B-CD)C(E-CF$%&'(&))GHC%((DI'-JCDICK'I-FI-H-'(-.CF$%&'(&))L
        û578û988678û 9û98!8ûû"5678û89768û û5û û6û6û56û5#$û"6 û5û%û û8û%#56&
 " û%68û û6û"56789û 9&û5û5û%98%56û85û û9896$û8û6$8û%û û8û 9ûû û
        &û9û8û86 ûû98%988&û5$988ûû578û8û8'%88û û8976$û5û û5û%#56û6û6û58ûû
        ()*+,-./01+,)0210)(3)4.)02-)-+0506)().-7.-/-+03)8599):--7)199),-;-+/-/)4.)4<=->054+/)04)02-)918/*503)02-)>4*.0?/
@9666&û5û8û788û û8û56&ûAû5ûû"5678û5ûA@86ûû8û5A88û û5û û9û û89768ûû
        û5#û895û5û&û9û8û86 ûû98%988&ûû6#8û5û8978û5û5"89û9û5û 6û89û#8û1Bû"6 6
C0û5û9                                       &û8û58û" 8û6û98!8û"5û8ûþ9ûý0û5û6û6û"5û8û68û8
68û583ûûûû56#ûûû&û5û85#û@$8û"6##ûA8û8898û5$56û8û9û8û86 ûû98%988
58 ~~~~                                                                  ^_^àbcdèfggh_
                                                                               q&r'%(KI-CD)C(E-C%((DI'-JCDICK'I-FI-H-'(-.CF%I(J
                ¨¡¨­¡»¬³©¢¬¥́Ò¬°                                                     ¡¡¢£
      #I&'(-.C'%B-CD)CF%I(JCs%&t&'rCH-It&u-CD)CHKBBD'HCC
                                                                                 ¤¡ ¥¦§¨ #I
                                                                                           ¡©&'¡ª
                                                                                                 (-.C'%B-
                                                                                                     «¬­ ¥¡®®¨
                                                                                 ¯¯¯°±¢²³¡©¡©´µµ©­±¥ ¡
                                                                                   ® £¤²¥£´¶¥¢·¡¢¸¹¹º¯
                                                                                                  v..I-HH
                                                                                   £°» ¡¡¢£¼¡ ¥¦½ ¡©¡°¬ »
                                                                                               wxB%&$C%..I-HH
                                                                                            ¾¿ºÀÁ¿µÀÂµ¹¹¹
                                                                                                 y-$-FED'-C'KBz-I
                                            {|}~5}505<~5355:55:|
          #8ûDûû8ûE8895#û#8ûû676#ûF9898û98!698û8956û885ûû %8958û6û576$û8859û8'%88ûû8976$û5û 
5û%#56ûûùû885û" û6û#58û6û8û68û58û5û" û56#ûû989û5û6$8û"56789û û89768û98!88ûAû5û%#566û#58û6
  8û68û58û"6##ûA8û98!698ûû%5û8û8'%88û û89768&û#8û8û885û "û$ û58û 9û8û56#98
          GH44,)>1*/-I),4-/)'D(C6#8û5ûA8#68û5û8û#5"6û6û$9#8&û9û5û6û5ûA88ûA9$ û6û5û6%9%89û788&û9û5û8û9û5
+4)=*.5/,5>054+)4J-.)025/)K100-.)4.)4J-.)02-),-;-+,1+0)4.)02-),-;-+,1+0?/)7.47-.06L))
          û8û"56789û6û6$8û5û9898&û û5û6##û5M8û88û5û5##û 89û888û5ûA@86&ûAû û5 ûA@8ûû8û5A88û
5û û9û û89768û
          û û"5678û89768&û8û û&û"66û8û68û%8668ûû8û"56789û9&û8978û5û5"89û9û5û 6û89û#8û1Bûû8û%#566
5û6#8û5û%û"6û8û9ûûN û6$6$û5û9896$û8û"56789û 9&û û598û5##"8û 98û68ûû98%û5û6û5û û5ûA88û8978
            Case: 1:19-op-45350-DAP Doc #: 8-1 Filed: 11/18/20 10 of 11. PageID #: 351


AO 399 (01/09) Waiver of the Service of Summons

                                    UNITED STATES DISTRICT COURT
                                                                     for the
                                                            Northern District of Ohio

                   Lower Brule Sioux Tribe                                )
                               Plaintiff                                  )
                          v.                                              )       Civil Action No. 1:19-op-45350-DAP
        AmerisourceBergen Drug Corporation et al                          )
                              Defendant                                   )

                                             WAIVER OF THE SERVICE OF SUMMONS

To:       Peter J. Mougey
                (Name of the plaintiff’s attorney or unrepresented plaintiff)

        I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.
           I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.
          I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.
        The Court’s moratorium on all filings includes a moratorium on the filing of answers or motions under Rule 12.
Defendants will not answer or move under Rule 12 unless so ordered by the Court. The failure to file an answer or
motion under Rule 12 will not be grounds for a default judgment.


Date:          6/5/2020
                                                                                        Signature of the attomey or unrepresented parly

                       SpecGX LLC                                                                     And rew O'Connor
      Printed name of party waiving service of summons                                                    Printed name
                                                                                                   Ropes & Gray , LLP
                                                                                          Prudential Tower, 800 Boylston Street
                                                                                                Boston, MA 02199-3600
                                                                                                              Address

                                                                                             And rew. O'Connor@ropesgray.com
                                                                                                        E-mail address

                                                                                                       (617) 951-7000
                                                                                                       Telephone m£mber


                                           Duty to Avoid Unnecessary Expenses of Serving a Summons
           Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a
summons and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff
located in the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.
           “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.
        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.
            If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the
plaintiff and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been
served.
            Case: 1:19-op-45350-DAP Doc #: 8-1 Filed: 11/18/20 11 of 11. PageID #: 352


AO 399 (01/09) Waiver of the Service of Summons

                                    UNITED STATES DISTRICT COURT
                                                                     for the
                                                            Northern District of Ohio

                   Lower Brule Sioux Tribe                                )
                               Plaintiff                                  )
                          v.                                              )       Civil Action No. 1:19-op-45350-DAP
        AmerisourceBergen Drug Corporation et al                          )
                              Defendant                                   )

                                             WAIVER OF THE SERVICE OF SUMMONS

To:       Peter J. Mougey
                (Name of the plaintiff’s attorney or unrepresented plaintiff)

        I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.
           I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.
          I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.
        The Court’s moratorium on all filings includes a moratorium on the filing of answers or motions under Rule 12.
Defendants will not answer or move under Rule 12 unless so ordered by the Court. The failure to file an answer or
motion under Rule 12 will not be grounds for a default judgment.


             5/8/2020                                                                                /s/ Tara A. Fumerton
Date:
                                                                                        Signature of the attorney or unrepresented party
        Walmart Inc. or Wal-Mart Stores East, LP                                                      Tara A. Fumerton
      Printed name of party waiving service of summons                                                     Printed name
                                                                                                         Jones Day
                                                                                                      77 W. Wacker Dr.
                                                                                                      Chicago, IL 60601
                                                                                                              Address
                                                                                                 tfumerton@jonesday.com
                                                                                                          E-mail address
                                                                                                        (312) 782-3939
                                                                                                        Telephone number


                                           Duty to Avoid Unnecessary Expenses of Serving a Summons
           Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a
summons and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff
located in the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.
           “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.
        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.
            If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the
plaintiff and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been
served.
